Filed 06/03/19                                                                                      Case 19-21640                                                Doc 52



                                                              1    2
                                                                   Peter Cianchetta, SBN: 220971
                                                              2
                                                                   CIANCHETTA & ASSOCIATES
                                                              3    8788 Elk Grove Blvd., Suite 2A
                                                                   Elk Grove, California 95624
                                                              4    Ph: (916) 685-7878
                                                                   plc@eglaw.net
                                                              5
                                                                   Attorney for Deborah Leigh Miller-Zuranich
                                                              6

                                                              7
                                                                                        UNITED STATES BANKRUPTCY COURT
                                                              8
                                                                                          EASTERN DISTRICT OF CALIFORNIA
                                                              9
                                                                       In re:                                       Case No. 2019-21640
                                                              10
   CIANCHETTA & ASSOCIATES




                                                              11       Deborah Leigh Miller-Zuranich                DCN: PLC-03
                             8788 Elk Grove Blvd., Suite 2A




                                                              12
                                                                                                   ,Debtors         Hearing Date: June 9, 2019
                                 Elk Grove, CA 95624




                                                              13                                                    Hearing Time: 1:00 p.m.
                                                                                                                    Hon. Christopher D. Jaime
                                                              14
                                                                                                                    Courtroom 32 - Dept B
                                                              15

                                                              16
                                                                                       DECLARATION IN SUPPORT OF MOTION TO
                                                              17
                                                                                         CONFIRM AMENDED CHAPTER 13 PLAN
                                                              18
                                                                       I, Deborah Leigh Miller-Zuranich, declare:
                                                              19
                                                                       1. The matters as set forth in this declaration are true of my own knowledge; and, if
                                                              20
                                                                           called upon to do so, I could and would competently testify to them.
                                                              21
                                                                       2. I am the Debtor in the above-entitled Bankruptcy case.
                                                              22
                                                                       3. I filed a Chapter 13 case and proposed my first Amended Chapter 13 Plan to deal with
                                                              23
                                                                           unexpected changes in my finances, and overwhelming unsecured debts.
                                                              24
                                                                       4. The terms and conditions of my first Amended Chapter 13 Plan are my best effort to
                                                              25
                                                                           repay my creditors based on my personal situation at this time.
                                                              26

                                                              27
                                                                       5. As the Schedules in my case show, I can afford to meet the terms of my plan.
                                                              28

                                                                                                               PAGE 1
Filed 06/03/19                                                                                     Case 19-21640                                                    Doc 52



                                                              1
                                                                          My average monthly net income is ............................................$6182.03
                                                              2
                                                                          My average monthly expenses are ................................................5719.50
                                                              3
                                                                          This produces a Net Disposable Income of .................................. 462.53
                                                              4
                                                                          I am proposing a monthly Chapter 13 payment of ......................$300
                                                              5
                                                                   6. I have proposed this first Amended Chapter 13 Plan in good faith and without any
                                                              6
                                                                      intent to deceive or misrepresent.
                                                              7
                                                                   7. I have paid any and all fees or charges required by the Court to be paid.
                                                              8
                                                                   8. All of my assets are exempt or the un-exempt portion is being paid through the plan
                                                              9
                                                                      and therefore I believe had I filed a Chapter 7 case, the creditors are receiving at least
                                                              10
                                                                      what they would in a hypothetical Chapter 7 case.
   CIANCHETTA & ASSOCIATES




                                                              11
                                                                   9. My first Amended Chapter 13 Plan provides for every secured debt that I owe, either
                             8788 Elk Grove Blvd., Suite 2A




                                                              12
                                                                      by surrendering the collateral or paying them in accordance with the Bankruptcy
                                 Elk Grove, CA 95624




                                                              13
                                                                      Code.
                                                              14
                                                                   10. After carefully reviewing my projected finances, I will be able to make the payments
                                                              15
                                                                      under the terms of the first Amended Chapter 13 Plan and comply with the other terms
                                                              16
                                                                      and conditions of the plan.
                                                              17
                                                                   11. I have no Domestic Support Obligation.
                                                              18
                                                                   12. I have filed all tax returns that have been required to be filed for the four years before
                                                              19
                                                                      my case was filed.
                                                              20
                                                                   13. The Plan was amended to remove a debt of the Joseph Miller Trust and to change the
                                                              21
                                                                      plan terms to sell the Oakland property.
                                                              22

                                                              23
                                                                   I, Deborah Leigh Miller-Zuranich, hereby declare under penalty of perjury that the
                                                              24
                                                                   foregoing is true and correct. Executed at Elk Grove, CA on June 3, 2019.
                                                              25

                                                              26                                                  /s/ Deborah Leigh Miller-Zuranich
                                                                                                                  Deborah Leigh Miller-Zuranich
                                                              27

                                                              28

                                                                                                                PAGE 2
